                                   UNITED STATES DISTRICT COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
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                                           OAKLAND DIVISION
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4                                             ) Case Number: 4:20-CV-04875-JSW
5                                             )
     Walter Scott                             )
6                                             ) JOINT CASE MANAGEMENT
            Plaintiff,                        ) STATEMENT & [PROPOSED] ORDER
7                                             )
8                                             )
            vs.                               )
9                                             )
     Tesoro Refining & Marketing Company LLC, )
10   et al                                    )
11                                            )
            Defendants.                       )
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            The parties to the above-entitled action jointly submit this JOINT CASE MANAGEMENT
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     STATEMENT & PROPOSED ORDER pursuant to the Standing Order for All Judges of the
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     Northern District of California and Civil Local Rule 16-9.
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     1. Jurisdiction & Service
18   This Court has subject matter jurisdiction over all claims pursuant to 28 U.S.C. § 1332(a)(1) by
19   virtue of the fact that the controversy between all claimants exceeds the value of $75,000 and, at
     the time of filing, complete diversity exists among the Parties.
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     The parties are not aware at this time of any issues that exist with regards to personal jurisdiction
21   or venue. The parties that remain to be served are Chris Nash Trucking, Inc., Alliance Tank Lines,
22   Inc., Defendant Pac West Trucking & Transportation, Inc. and Joe Gomes Trucking, Inc. A
     proposed deadline for service will be in the next three weeks.
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25   2. Facts
     Plaintiff is a gasoline and petroleum products hauler. On or about the morning of September 4,
26   2019, Plaintiff drove to Defendant Tesoro’s Refinery in Martinez, California in his combination
     tractor-tanker to pick up a load of gasoline. After arriving on the premises, Plaintiff pulled his rig
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     into a loading terminal lane so that product could be loaded into his cargo tank. Once he was
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     properly positioned in the lane, Plaintiff made a complete stop and exited his truck to begin the
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     loading process.
2             The ground of loading terminal’s lane was saturated with an excess of petrochemical
     product and mud. Plaintiff alleges that Defendant Tesoro failed to clean and clear the loading bay
3    area such that it was safe for workers to load rigs, like Plaintiff. The result of this mixture created
     an extremely slippery surface, which Plaintiff would be forced to negotiate in order to complete
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     his loading procedure and pre-trip inspection. While circling around his truck, Plaintiff lost his
5    footing and fell. But, the lane was so slippery that Plaintiff did not fall directly to the ground—
     Plaintiff desperately attempted to maintain his balance and in the process, was caught in his
6    tractor’s hose. As he was ensnared, he continued to fall. The force of Plaintiff’s tangled fall caused
     Plaintiff’s knees, shoulder and back to “pop,” and Plaintiff landed facedown. Plaintiff blacked out
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     thereafter. When he awoke, Plaintiff was suspended above the ground by his tangle, with only the
8    brim of his hard hat keeping his face from the submerging in the mud. Shortly after Plaintiff
     regained consciousness, Plaintiff was assisted by Refinery personnel to help extricate Plaintiff
9    from his entanglement. It took three (3) Tesoro personnel and several minutes to free Plaintiff
     because of the slippery surface and entangled hose. The force of the fall immediately caused
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     Plaintiff pain to both of his knees, his shoulder, his back and his head.
11            Earlier on the day of the incident, Defendants Chris Nash Trucking, Alliance, Pac West
     and Gomes Trucking (the “Trucking Defendants”) each picked up loads at the Martinez Refinery,
12   using the same loading terminals that Plaintiff would eventually use. Plaintiff alleges that each
     Trucking Defendant used the lane, each failed to use reasonable care in loading, which cause
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     and/or contributed to the collection of excess product, mud and debris that gathered in the lane.
14   Plaintiff alleges that the combination of the Trucking Defendants’ negligent loading with the
     Defendant Tesoro’s negligent care of the premises proximately caused Plaintiff’s injuries. Further,
15   Plaintiff alleges that the Defendants’ conscious disregard of an objective, extreme degree of risk
     posed by the hazardous condition of the Refinery’s loading lane proximately caused Plaintiff’s
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     injuries. After this incident, Plaintiff sought medical treatment for his injuries.
17            Defendant Tesoro Refining & Marketing Company LLC (“TRMC”) disputes that any
     hazardous condition existed at the subject premises at the time of Plaintiff’s alleged injury, and,
18   further denies that Plaintiff sustained any injuries, or that the nature or severity is as Plaintiff
     describes it.
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              TRMC further asserts that, to the extent Plaintiff was injured, it was solely due to his own
20   negligence. Additionally, because Plaintiff was acting within the course and scope of his
     employment for Third-Party Defendant Henner Tank Lines, Inc. (“Henner”) at the time of his
21   alleged injuries, and because Henner owes TRMC indemnity for any harms caused by its
     employees’ activities at the subject premises pursuant to a Carrier Access Agreement (“CAA”)
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     under which Mr. Scott, on behalf of Henner, was present the day of his alleged injuries, any
23   liability attributable to TRMC must be paid by Henner, which further owes TRMC a defense
     obligation dating back to TRMC’s initial tender of defense and indemnity. TRMC is entitled to
24   this indemnity under the CAA because it is an “affiliate” of Tesoro Logistics Operations LLC
     (“TLO”), the signing entity, and because the CAA expressly states that the contracting party is the
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     combination of TLO and its affiliates. Moreover, the existence of the CAA operates as an
26   exception to the worker’s compensation immunity to which Henner may otherwise be entitled
     under Cal. Labor Code § 3864.
27            Henner disputes that it is liable to TRMC for indemnity or breach of contract. Henner, as
     the employer of the injured employee, Plaintiff Walter Scott, is covered by the worker’s
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     compensation immunity of Labor Code § 3864 and cannot be liable herein unless TRMC first
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     establishes a contract that meets the strict requirements of Labor Code § 3864. TRMC cannot meet
2    this burden because it was not a party to the CAA. The CAA is not applicable to the facts at hand
     as it was not fully “executed” by both parties prior to the injury. Further, Henner disputes that
3    TRMC was a third-party beneficiary to the CAA as TRMC does not meet the definition of an
     Affiliate as defined therein. As such, TRMC has no contractual basis by which to circumvent
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     Henner’s Immunity under labor Code § 3864. Likewise, TRMC does not have a valid cause action
5    for breach of contract, as it was not a party or third-party beneficiary to CAA.

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     3. Legal Issues
7    The disputed points of law are with regard to Plaintiff’s claim of negligence as to all Defendants.
     Whether TRMC the CAA was fully executed by TRMC and Henner prior to the injury. Whether
8    TRMC was a third-party beneficiary to the CAA.
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10   4. Motions
11    There are currently no pending motions before this Court. All prior motions have received an
      order from this Court. Defendants anticipate filing dispositive motions and Daubert motions as
12    appropriate once discovery is completed or substantially completed.
13   5. Amendment of Pleadings
14    Plaintiff does not expect to add or dismiss any parties, claims or defenses at this time.

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     6. Evidence Preservation
16   The parties certify that the parties have reviewed the Guidelines Relating to the Discovery of
     Electronically Stored information. The parties further certify that they have met and conferred
17   pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve
18   evidence relevant to the issues reasonably evident in this action.

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     7. Disclosures
20   The parties will exchange initial disclosures pursuant to Fed. R. Civ. P. 26 two weeks after the
     joint case management conference.
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     8. Discovery
23    At this time, Henner is the only party that has served written discovery requests. Henner has served
24   interrogatories and request for documents to Plaintiff and TRMC.

25   The parties do not foresee any limitations on discovery, except for that depositions shall not exceed
     6 hours as to any deponent. The parties have not considered entering into a stipulated e-discovery
26   order. The parties have not identified any discovery disputes to date. The parties anticipate the
27   scope of discovery to include initial disclosures, request for production, interrogatories, request
     for admissions, depositions of fact witnesses, depositions of the Plaintiff and Defendants,
28   depositions of expert witnesses, etc.
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2    9. Class Actions
     Not applicable.
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     10. Related Cases
5    The parties are not aware of any related cases.
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7    11. Relief
8    The relief Plaintiff seeks through his Complaint are general and special damages, pre-and post-
     judgment interest, costs of suit, including reasonable attorneys’ fees, as allowed by law and such
9    other and further relief that the Court may deem just and proper.
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11   The bases on which Plaintiff contends damages should be calculated will be shown through expert
     witness reports, medical records, testimony as well as other evidence. Certain damages are subject
12   to the discretion of the jury.
13   The relief TRMC seeks through its Third Party Complaint is reimbursement for its defense
14   expenses incurred since the date of its tender to Henner, and complete indemnification by Henner
     as to any damages for which TRMC is determined to be liable.
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     Henner prays that Cross-Complainant TRMC takes nothing from Henner by way of its cross-
16   complaint. Further, Henner seeks costs of the suit incurred, attorneys fees, and any further relief
17   the Court deems proper.

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     12. Settlement and ADR
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     Plaintiff, Defendant, and Cross-Defendant do not foresee the possibility of being able to conduct
20   any meaningful discussions regarding possible resolution until discovery has been conducted.
     With that being said, the parties will continue to evaluate and consider the potential for mediation.
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     13. Consent to Magistrate Judge For All Purposes
23   Whether all parties will consent to have a magistrate judge conduct all further proceedings
24   including trial and entry of judgment. ____ YES X__NO

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     14. Other References
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     This case is not suitable for reference to binding arbitration, a special master, or the Judicial Panel
27   on Multidistrict Litigation.

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1    15. Narrowing of Issues
     The parties are not aware at this time of issues that can be narrowed by agreement or by motion at
2    this time. The parties will continue to work diligently to litigate the case and if there are issues that
3    can be narrowed in the future, the parties will revaluate.

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5    16. Expedited Trial Procedure
     Not applicable.
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     17. Scheduling
8    Plaintiff proposes that Fact discovery shall be completed by March 22, 2022. Deadline for
     designation of expert witnesses shall be October 1, 2021 for Plaintiff and November 1, 2021 for
9    Defendants. Dispositive motions shall be served and filed no later than March 22, 2022. Pre-trial
10   conference shall be scheduled for April 26, 2022. Trial date will be April 29, 2022.

11   The proposed date for completion of initial ADR session will be March 23, 2022.
12   TRMC proposes that Plaintiff’s expert disclosure should take place March 23, 2022; Defendants’
13   expert disclosure should take place April 26, 2022; Dispositive motions should be filed no later
     than May 24, 2022, the Pre-trial conference should be scheduled for June 28, 2022, and the trial
14   date should be July 5, 2022. Henner concurs with TRMC’s proposal as stated above.
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16   18. Trial
     The parties expect this case to be tried before a jury. The parties expect the trial to last 5-7 days.
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     19. Disclosure of Non-party Interested Entities or Persons
19   Each party, except for Plaintiff, has filed the Certificate of Interested Entities or Persons as required
20   by Civil Local Rule 3-15.

21   As required, below is a restatement of the contents of Defendants Tesoro Refining & Marketing
     LLC and Andeavor LLC’s certificate of interested entities or persons:
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23       •   Tesoro Refining & Marketing Company LLC (Defendant), which is a direct, wholly-
             owned subsidiary of:
24              o Western Refining Southwest, Inc.; and
         •   Andeavor LLC (Defendant), which is a direct, wholly owned subsidiary of:
25              o Marathon Petroleum Corporation.
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     Below is a restatement of the certificate of interested entities or persons for Defendant Henner
27   Tank Lines, Inc.
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            1.   Henner Tank Lines, Inc.
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            2.   Douglas Henner
2           3.   Deborah Henner
            4.   Erwin Lynn Group, LLC
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     20. Professional Conduct
5    All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct for
     the Northern District of California.
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     21. Other
8    Not applicable.
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11     Dated: April 30, 2021                   /s/ Ryan S. Pigg
12                                             Counsel for Plaintiff Walter Scott

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       Dated: April 30, 2021                   /s/ Daniel S. Horowitz (*with permission)
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                                               Counsel for Defendants Tesoro Refining &
16                                             Marketing LLC and Andeavor LLC

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18     Dated: April 30, 2021                   /s/ Bryan G. Ceglio (*with permission) ___________
                                               Counsel for Cross-Defendant Henner Tank Lines, Inc.
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21
                                    CASE MANAGEMENT ORDER
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     The above JOINT CASE MANAGEMENT STATEMENT & PROPOSED ORDER is approved
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     as the Case Management Order for this case and all parties shall comply with its provisions. [In
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     addition, the Court makes the further orders stated below:]
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     IT IS SO ORDERED.
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1    Dated:
2             UNITED STATES DISTRICT/MAGISTRATE
              JUDGE
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